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  DOWD, J.

                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 Juan Valdez-Reyes,
                                                        CASE NO.4:07CV849
                 Petitioner,                                    4:02CR273

         v.                                             JUDGMENT ENTRY
                                                        (Resolving Doc. No. 1)
 United States of America,

                 Respondent.

         For the reasons stated in the Memorandum Opinion filed contemporaneously with this

 Judgment Entry, IT IS HEREBY ORDERED, ADJUDGED and DECREED that the petition of

 Juan Valdez-Reyes for relief pursuant to 28 U.S.C. Section 2255 is denied.

         The Court also certifies, pursuant to 28 U.S.C. Section 1915(a)(3), that an appeal from

 this decision could not be taken in good faith.

         Pursuant to 28 U.S.C. Section 2253(c) and Fed. R. App. P. 22(b), the Court declines to

  issue a certificate of appealability.




         IT IS SO ORDERED.

  August 21, 2007                                /s/ David D. Dowd, Jr.
 Date                                          David D. Dowd, Jr.
                                               U.S. District Judge
